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       Michael L. Shakman and Paul M. Lurie, et al. v. Cook County Clerk, et al.

              Cook County Clerk’s Response to Plaintiffs’ Motion for Supplemental Relief

                                            Exhibit List

A.   Transcript of Proceedings, 09/11/2019

B.   Office of the Independent Inspector General Report No. IIG19-0222, 08/08/2019

C.   Report from Clerk’s Chief Legal Counsel, 03/27/2019

D.   Exempt Lists, 2015-2019

E.   FOIA Request, 04/24/2019

F.   Letter from Brian Hays, 05/03/2018




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